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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 UNITED STATES OF AMERICA,
       v.                                         CRIMINAL ACTION NO.
 GABRIEL SANTANA CRUZ,                                 1:05-cr-0250-WSD
                            Defendant.




                                       ORDER
      This matter is before the Court on Magistrate Judge Janet F. King’s Final

Report and Recommendation (“R&R”) [263], which recommends denying as moot

Gabriel Santana Cruz’s Motion to Terminate All Collateral Attacks on Conviction

[262]. Cruz seeks to terminate all collateral attacks on his conviction because he

has started treaty transfer proceedings and the treaty transfer cannot occur until all

collateral attacks on his conviction have ended. The R&R notes that all of Cruz’s

prior collateral attacks in this Court have been either denied or dismissed and that

Cruz does not have any additional collateral attacks that are pending. Because

there are no pending collateral attacks, the R&R recommends denying the motion

to terminate all collateral attacks as moot.
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        After conducting a careful and complete review of the findings and

recommendations, a district judge may accept, reject, or modify a magistrate

judge’s report and recommendation. 28 U.S.C. § 636(b)(1); Williams v.

Wainwright, 681 F.2d 732 (11th Cir. 1982), cert. denied, 459 U.S. 1112 (1983).

Where, as here, no party has objected to the R&R, the Court must conduct a plain

error review of the record. United States v. Slay, 714 F.2d 1093, 1095 (11th Cir.

1983), cert. denied, 464 U.S. 1050 (1984).

        The Court has reviewed the docket and finds no indication that Cruz has any

collateral attacks on his conviction that have not been denied or dismissed. The

Court further notes that Cruz’s last collateral attack on his conviction was

dismissed on March 14, 2011, and that the time for appealing that Order has

expired. The Court agrees with the Magistrate Judge that Cruz has no collateral

attacks on his conviction pending in this Court and therefore adopts the

recommendation to deny Cruz’s motion as moot.

        For the foregoing reasons,

        IT IS HEREBY ORDERED that Magistrate Judge Janet F. King’s Final

Report and Recommendation [263] is ADOPTED. Gabriel Santana Cruz’s

Motion to Terminate All Collateral Attacks on Conviction [262] is DENIED as

moot.


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 SO ORDERED this 24th day of October, 2011.




                        _________________________________________
                        WILLIAM S. DUFFEY, JR.
                        UNITED STATES DISTRICT JUDGE




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